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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


             UNITED STATES OF AMERICA                          )
                             Plaintiff                         )
                                v.                             )      Case No. 1:23-mj-00059-ZMF-1
                    JONATHAN GRACE                             )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         JONATHAN GRACE                                                                                                .


Date:          04/06/2023                                                                 /s/Nabeel Kibria
                                                                                         Attorney’s signature


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